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Tnis Agreement too Arbit_rate [hereinatter ‘Agreement"} is ordered into by go

subsidiary and ainlieted companies and each of their oflicers.. directors,
and assigns, {hereinafter cot|ective|y 'the Company"] and '

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M(Tt it"\ »€‘~ "" ' ` * L gn?i:sreinai°ter "Em\:iioi_.iee`l located a
{Empioyee Nan‘ia}

lt is the desire of the parties to this Agreemerrt that, whenever possible “ Jilpi.i
be resolved in an expeditious manner. Each of the parties hereto le volume ily

gain the benefits of a speedy, impartial dispute~resolution procedure

The Company and Employee mutually agree that any dispute cr contrch
any "L`.iispute." as defined heroin, shall be resolved exclusively by final an
be held in Pi.ierto Rioo, in the Gity in which the Ernployee works

  

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arbitration Such arbitration shall 1

 

For purposes of this Agi‘eement. the term "Dispirtes° means and includes a iy ct im or actior arising out of or in any l

 

way related to the hire. employmentl remunerationl separation or term in i

which the parties agree;to arbitratorl pursuant to this Agreement, inciude o are hot limited

other compensation due; claims for breach of any employment contract o
unlawful i:iiscriiminationl retaliation or harassment (inc|uding, but not limi

texoept where an Emptoyee's benefit or pension plan contains a claims p o d
and binding arbitration procedure difmrent from this onei), and Disputes rl
the employment relationship between the partiss, whether based on com n

 
  

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' v : claims for wages or .
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or statute. regulationl or ordinance

 

. i . .
Each of the parties voluntarily and irrevocany waives any and all rig h a to have any; D puts heard or
resolved in any forum other than through arbitration as provided hare .

la not limited to, any right to trial by jury.

This Agreemerit does not cover claims that Empioyee may have for iiiioriter1 co '
compensation benefits thhing herein shott preclude Eiriployee from repo rig l
Puerio Ri'co Labor Department and l-luman Resources; provided bowers r, hat ri..the eve‘pt'

administrative agency or any other person brings anyl claim or action for r1
Emp|oyse waives the right to recover or receive any such monetary relief

  
 

relief exclusively through arbitration pursuant tro this Agreerrient. Nothing 1a 'ein

that either party is prohibited form waiving under applicable lavv.

This does not limit the rights of either party to apply to a court of compete it

including a temporary restraining order or preliminary injunction

Both parties agree that me Coiripariy has valuable trade secrets and propria
parties agree that in the course ot anyll arbitration proceeding ali neoesaarr a

 

disclosure such trade secrets and proprietary and contideritiat informati

|ri any arbitration held pursuant to this Agreement, the parties shall bear qi. ally '

including the Arbitrator's fee, except that Empioyee's share cf such fees

then-current totat tt|ing fee and coats in any court in which Employee cool r
own attorneys fee and costs, it any- However, il any party prevails on a stat ito
ey

party attorneys’ fees. or if there is a written agreement providing for attain
reasonable fees to the prevailing party.

Eithar party may bring an action in any court of competent jurisdiction to compel

to enforce an arbitration award

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This Agreernent is not a contract of ernployrrrerrtl and shall not be constrr,¢ to c

employment of Employee with the Cornperry. express or implied ThisAg e ert shall sur`\rl

employment retetionship_ between the parties. and any change in the tenn's ith
the parties shall not in any way affect this Agreement. This Agreement oo t ins
parties pertaining to the subject matter hereof. lt cannot be revoked or m l ed
employee and by the PresidentiCEO of the Company.

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The provisions of this Agreement are severable and tr any one or more a e
unenforr:eel:rlel the remaining provisions shall continue to be in full force

 

Agreement, a Court of o'ompetent jurisdiction rules that the parties agree e tto r'bltrete r._in

Arbitrariion of Employment Disputea of the Amerioan Arbitretion Aseooiati n n
that such Dtepute shall be resolved by final and binding arbitration under
ot Civli Procedure Sectlon 1280. et seq. lt a Court of competent jurisdictln nut

not enforceable the parties agree that such Dlspute shall be resolved by n l ar
applicable sections of Puerto Rico i.aw.

The promises of the parties herein to arbitrate differences, rather than tit'r ate the
provide consideration for each other.

l AM ENTER|NG lNTO THIS AGREEMENT VO LUNTAR!LY.
l AO|(NOWLEDGE THAT l HAVE CAREFULLY READ THiS AG REEME T
SU BJECTS COVERED iN THE AGREEMENT ARE CONTA|NED lN |T iii

PROM|SE OR REF’RESENTAT|ONS BY THE CON|PANY DTHER THANC
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i FURTHER ACKNOWLEDGE THAT | HAVE BEEN GIVEN THE OF'POR TU|N|T£‘ TO CONS JLT WlTH MY PRIVATE

LEGAL COUNSEL OR OTHER ADV!SOR BEFORE SlGN|NG TH|S TWC -F AG

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